                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

AUNDRA MASON,                                               )
                                                            )
                   Plaintiff,                               )
                                                            )
          v.                                                )     Civil Action No. 2:17cv280-WKW
                                                            )                   (WO)
FEDERAL BUREAU OF PRISONS,                                  )
                                                            )
                   Defendant.                               )

                   RECOMMENDATION OF THE MAGISTRATE JUDGE

          On June 19, 2017, this court entered an order (Doc. 3) directing Plaintiff to file by

July 5, 2017, either the $400.00 filing/administrative fees or an affidavit in support of a

motion for leave to proceed in forma pauperis accompanied by relevant financial

information from the inmate account clerk.1 In its order, the court specifically cautioned

Plaintiff that his failure to comply with the order would result in a recommendation that

the case be dismissed. Doc. 3 at 2.

          The requisite time has passed, and Plaintiff has failed to submit either the

filing/administrative fees or an affidavit in support of a motion for leave to proceed in

forma pauperis with relevant financial information in compliance with this court’s orders.

The court therefore concludes that dismissal is appropriate. Moon v. Newsome, 863 F.2d

835, 837 (11th Cir. 1989) (as a general rule, where a litigant has been forewarned, dismissal

for failure to obey a court order is not an abuse of discretion.).


1
    Plaintiff is an inmate at United States Penitentiary (“USP”), Atlanta in Atlanta, Georgia.
       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that this case

be DISMISSED without prejudice for Plaintiff’s failure to comply with the court’s orders.

       It is further

       ORDERED that the parties shall file any objections to this Recommendation or

before September 14, 2017. A party must specifically identify the factual findings and

legal conclusions in the Recommendation to which objection is made; frivolous,

conclusive, or general objections will not be considered. Failure to file written objections

to the Magistrate Judge’s findings and recommendations in accordance with the provisions

of 28 U.S.C. § 636(b)(1) will bar a party from a de novo determination by the District Court

of legal and factual issues covered in the Recommendation and waives the right of the party

to challenge on appeal the District Court’s order based on unobjected-to factual and legal

conclusions accepted or adopted by the District Court except upon grounds of plain error

or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982); 11th Cir. R. 3-

1. See Stein v. Lanning Sec., Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).

       DONE, on this the 29th day of August, 2017.

                                          /s/ Susan Russ Walker
                                          Susan Russ Walker
                                          United States Magistrate Judge




                                             2
